                                              Case 2:21-cv-01828-CFK Document 1 Filed 04/20/21 Page 1 of 18
    JS44 (Rev. l0/20)
                                                                                                 CNIL COVER SHEET

    I. (a) PLAINTIFFS                                                                                                                       DEFENDANTS
     Gabriel Angulo                                                                                                                     The Trustees of The University of
                                                                                                                                        Pennsylvania, d/b/a University of
          (b) County of Residence            of First Listed         ptaintitf    MaddteSeX,                             MA
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          (C)      Attorneys (Finn      Nume, Arklres.s, qnd Telcphone Numbtr)                                                              Attorneys         (ll   Knoy,n)
Albert J. Michel-l , pC, 40 W. Evergreen Av                                                                                              . Ste 102
Philadel-phia, pA 19118. ael#21 5.922.2588
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VI.             CAUSE OF ACTION
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     COMPLAINT:                                               LINDER RULE 23, F.R.Cv.P                                                                                                                 JURY DEMAND:                              ElY..             INo
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                                                                        STATES DISTRICT   04/20/21 Page 2 of 18
                                                                                        COURT
                                                                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                                                 DESICNATION FORM
                                      (to be used by counsel or pro se plointi/flo indicate the cotegoU ctfthe
                                                                                                               cose.for rhe purpose ofossignntent ro rhe oppropriate calendar)

                        403 crescent stlee!_ jpt.3, waltham, MA 02453
     Address of plaintiff'

     Address of Defendant' _3451 Walnut Street, Suite 721 , Philadel-phia, pA 19104
     Place of Accident, Incident or Transaction:                             Philadel

     RELATED CASE, IF ANY:

     Casc Nurnber:                                                                   Judge:                                                                Date Terminated:

    civil          cases are deemed related rvhen yas is answered to any of the                     fbllowing questions:
     l.       Is this case related to property included in an earlier numbered suit pending or within one year
              previously terminated action in this court?
                                                                                                                                                              Yes
                                                                                                                                                                    tr                    No
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    2.        Does this case involve the same issue of lact or grow out of the same transaction as a prior
              pending or r.vithin one year previously terminatei u.tion ln ili, ;;;n1' -
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              numbered case pending or within one year previously terminated action ol'this cour-t?
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    4.        Is this case a second or successive habeas corpus. social security appeal. or pro se civil rights
              case  flled by the sarre individual?
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    I certity that, to my knorvledge. the rvithin case                   E      is   I [3   is   not   related to any case now pending or within one year previously terminated action in
    this court except as noted above.

    DArE: 4/2O/2O21
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    ClVll.:            (Place a   i   in one category only)

    A.                   Federal Question Cases :                                                                        B.   Diversitt,JurisdictionCoses:

n             l.         lndemnity Contract, Marine Contract. and All Other Contracts
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n            4.          Antitrust
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n            5.          Patent
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D            6.          Labor-Management Relations
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R            7.          Civil Rights                                                                                    tr         Products   Liabilitl,
D            8.          Habeas Corpus
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tr           9.          Securities Act(s) Cases
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tr            10.        Social Securitl, Revierv Cases                                                                             (Please specify):
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    1.   Albert                   J ' Michell- , Esq.                      , counset      olrecord or pro    se   plaintifl, do hereby certifo:

                        Pursuant to Local Civil Rule 53.2. A 3(c) (2). that to the best ol'my knorvledge ancl beliet, the damages recoverable in this                                         civil action case
                        exceed the sum of$150.000.00 exclusive ofinterest and costs:


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                                                                                              Attorney-ctt-l.utt'   ,/   Pro Se   PlaintfJ                              ,lttorney   t.D   #   (f   appticable)

NorE. A trial               de novo rvill be a trial by.jury only   if there has been conrpliance with F.R.c.p. 3g.

(   tr. 6(t9 (5 2018)
               Case 2:21-cv-01828-CFK Document 1 Filed 04/20/21 Page 3 of 18


                                  IN THE UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                              CASE MANAGEMENT TRACK DESIGNATION FORM
Gabriel Ansulo                                                                       atVIL ACTION
                                                           ;
The Trustees of Theur.rr.r"r"ity
                               of                          ,

Pennsylvania, d/b/a University of                          :                        NO.
Pennsylvania
     In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
     plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
     filing the colPlaint and serve a copy on all def'endants. (See $ I :03 of the plan set forth on the reverse
     side of this form.) In the event that a defendant does not'agree with fhe plaintiff regarding said
     designation, that det-endant shall, with its first appearance, subhit to the cleik of court ind selre on
     the plaintiff an_d all other parties, a Case Management Track Designation Form specifying the track
     to which that defendant believes the case should be assigned

     SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

     (a) Habeas Corpus         -   Cases brought under 28 U.S.C. 5 2241through   \ 2255.                   (   )

     (b) Social Security - Cases requesting review of a decision of the Secretary of Health
         and Human Services denying plaintiff Social Security Benefits.                                    (   )

     (c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule      53.2. (     )

     (d) Asbestos      -   Cases involving claims for personal injury or property damage from
           exposure to     asbestos.                                                                       (   )

     (e) Special Management - Cases that do not fall into tracks (a) through (d) that are
         commonly referred to as complex and that need special or intense management by
         the court. (See reverse side of this form for a detailed explanation of special
           management       cases.)                                                                        (   )

     (f)   Standard Management- Cases that do not         fall into any one of the other tracks.           (x )


        4/20/2021                           Albert J. Miche1l,          Esg.       Plaintiff       Gabriel Angulo
     Date                                     Attorney-at-law                    Attorney for
        21   5.922.2588                     21 5   -922 -?qeo               am   i r-helI@netcarrier, esm
     Telephone                                FAX Number                         E-Mail Address


     (Civ.660) l0/02
          Case 2:21-cv-01828-CFK Document 1 Filed 04/20/21 Page 4 of 18




                         UNITED STATES DISTRICT COURT FOR
                       THE EASTERN DISTRICT OF PENNSYLVANIA

 GABRIEL ANGULO
 403 Crescent Street
 Apartment 3
 Waltham, MA 02453
                        Plaintiff                             CIVI   ACTION

                                                              DOCKET NO.:

THE TRUSTEES OF THE LINIVERSITY
OF PENNSYLVANIA, dIbI a LINIVERSITY
OF PENNSYLVANIA
3451 Walnut Street
Suite 721
Philadelphia, PA 19104
                     Defendant




                                          COMPLAINT
        Comes now the Plaintiff Gabriel Angulo, by and through counsel Albert J. Michell.

Esquire, and for his complaint and cause of action, states as follows:



                                             PARTIES
l.    Plaintiff Gabriel Angulo (hereinafter "Plaintiff ' or "Mr. Angulo") is an adult Hispanic male
of the Catholic faith who is a resident of Massachusetts living at 403 Crescent Street, Apartment
3, Waltham, MA 02453.

2'   Defendant, Trustees of the University of Pennsylv ania, dlbla University of pennsylvania
(hereinafter "Defendant"), is a private university located in Philadelphia with an address
                                                                                           of 3451
Walnut Street, Suite 721, Philadelphia, PA 19104 and is a person as defined in 42 U.S.C. Sec
2000e-2(a).

3.   At all times relevant to this action, Defendant was "engaged in an industry affecting
commerce" within the meaning of Sections 701(g) and 701(h) of Title YII,42U.S.C. Sections

2000e(g) and 2000e(h) (hereinafter "Title VII,,).

       At all times relevant to this action, Defendant employed over 500 employees.
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        At all times relevant to this action, Defendant was an "employer" within the meaning
                                                                                             of
 Section 701(b) of Title YII,42 U.S.C. Section 2000e(b).

        At all times relevant to this action, Defendant was an "employer" within the
                                                                                     meaning of
 Section 4 of the Pennsylvania Human Relations Act (hereinafter "pHRA"),
                                                                            43 p.S. Sectio n       954
and Section 5 of the PHRA,43 p.S. Section 955.



                                               JURISDICTION
4.  Jurisdiction of this Courl comes under 28 U.S.C. Sec. 133 I (Federal
                                                                         euesrion) based on Mr.
Angulo's claims under Sections 703(a) and 706(f)(l) of Title VII of the Civil Rights
                                                                                     Acr of 1964,
as amended, 42    u.s.c. Sections 2000e-2(a) and 2000e-5(0(l) (..Title vII,,) (Employment
Discrimination). The state law components of this action arise under the pennsylvania Human
Relations Act,43 P.C. Sections 953, 955 and 962(c)(l). This Courl has supplemental subject
matter jurisdiction over the state law components of this action pursuant to 28 U.S.C.
                                                                                       Section
1367(a) Title VII.



                                                   VENUE
5'   Venue in this district is proper because the discriminatory acts complained of occurred
primarily at Defendant's campus located in philadelphia, pennsylvania.



                                  PROCEDURAL REOUIREMENTS
6.   On March 11,2019, within 180 days of the occurrence of the act of discrimination of which

he complains,   Plaintiff filed   a   complaint against Defendant with the Pennsylvania Human
Relations Commission (hereinafter "PHRC") alleging race/national origin based employment

discrimination. Said complaint was concurrently filed with the Equal Employment Opportunity
Commission (hereinafter "EEOC") and was assigned Charge No. 17F201960339.

       On April 24,2019, also within 180 days of the occuffence of the act of discrimination       of
which he complains, Plaintiff filed an EEOC Charge alleging the same racelnational origin based
discrimination as the prior charge but adding an allegation of religion-based discrimination. This

                  No. 17F2020-6107 | and was concurrently filed with the PHRC.
was assigned Charge

       The EEOC has held exclusive jurisdiction over Plaintifls Charges for over 180       days.
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              To date, the EEOC has not reached a conciliation agreement to which plaintiff is party.
                                                                                              a
              On313012021, Plaintiff received from the EEOC Notices of Right To Sue for
                                                                                        both
    Charges, allowing him to sue in Federal Court within ninety (90) days. (See
                                                                                attached hereto and
    incorporated herein as Plaintiff s Exhibit "A", Notice of Right To Sue letters.)



                                                        FACTS
    7   '  Plaintiff Gabriel Angulo is an Hispanic male of Mexican descent of the Catholic Faith
    who at all times material and relevant hereto held a sincere and bona fide belief in
                                                                                         the tenets of
    that faith.

    8.      Plaintiff has a Bachelor of Arts in Religious Studies from De Paul University; a Masters
    of Arts in Library and lnformation Studies from the University of Wisconsin-Madison; and a
Master of Arts in Medieval Jewish Studies from the Jewish Theological Seminary.

9.           As of July 201 8 Plaintiff had between 3 and 4 years of experience cataloging rare books
and manuscripts, including Hebraic material.

    10.      As of July 2018 Plaintiffpossessed knowledge of the Hebrew, German, yiddish. and
Latin languages sufficient to catalogue material in those languages.
    1   1.   Plaintiff was Rare Books and Manuscripts Librarian at the Boston Public Library from
September 2017 to July 2018 when Plaintiff became Metadata Librarian for Hebrew Language

Materials at Brandeis University.

12.          In July 2018 Plaintiff applied for a position with Defendant University of Pennsylvania
titled Judaica Special Collections Cataloging Librarian.
13.          A portion of Defendant's posted qualifications for this position read: "A Masters degree
from an ALA accredited library science program and 3 to 5 years related experience, or
equivalent combination of experience and graduate education in a subjected-related field, are
required." (See attached hereto and incorporated herein as Plaintifls Exhibit "B", [Jniversity of
Pennsylvania Job Posting - Judaica Special Collections Cataloging Librarian)

14.          The   job posting also required   a   "strong knowledge of the Hebrew, Yiddish, German, and
Latin languages. . ." and indicated Defendant preferred a minimum of three years experience in
original cataloging. (See Exhibit "B".)
I   5.       Plaintiff made clear in his application material, which included his application and his
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 resume' his solid knowledge of the Flebrew, German, Yiddish, and Latin languages
                                                                                      which
 enabled him to catalog as well as prepare accurate catalog descriptions
                                                                         for rare books and
 manuscripts in these languages.

 l6'    Plaintiff also made clear in his application material his educational background
                                                                                         and
 relevant work experience including but not limited to that enumerated
                                                                          above.
 17   '   Plaintifls application materials   made clear that he had, at the time of the application, the
required educational prerequisites and more than the required 3 years experience
                                                                                 cataloging rare
books and manuscripts.

 18.    Plaintiff was selected as a finalist for the position and was invited to, and did. interview
for the position on october 29,2ol8 at Defendant's campus in philadelphia.
 19.      As part of the interview process Plaintiff was given a presentation topic to discuss
                                                                                               with a
hiring committee.
20.    At the beginning of his interview, as Plaintiff attempted to present his topic and discuss it,
he was immediately interrupted by search committee member Arthur Kiron (white
                                                                                     Jewish male),
who continuously throughout the presentation attempted to argue with Plaintiff regarding the
Romanization system for Hebrew and Yiddish, which was not part of the presentation topic.

21.     During the afternoon discussions with the search committee, Mr. Kiron continued to
interrupt and argue with Plaintifi this time about Plaintiff s knowledge of Rabbinic idioms,
                                                                                             upon
which he (Mr. Kiron) placed great emphasis, though it was not even listed in either the position,s
qualifications or preferred experience/knowledge.
22. Mr' Kiron's continuous          interruptions and arguments took up nearly half of the
aftemoon's discussions between Plaintiff and the hiring committee, were essentially irrelevant to
the position, and added tension to Plaintiff s interview process.

23.       Arthur Kiron was the only Judaica collections expefi on the hiring committee. Mr.
Kiron's continued interruptions and arguments on the merits of the Romanization system and
testing of Plaintiffs knowledge of Rabbinic idioms detrimentally affected Plaintiff s interview.

24.       On November 9, 201 8 Plaintiff learned that he was not selected for the position, which

was instead given to Louis Meiselman (white Jewish male), who, though similarly situated to

Plaintiff, was not   a member   of Plaintiff s protected classes and was not treated in a like manner.
25.       Mr. Meiselman was less qualified than Plaintiffand did not meet even the minimum
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 posted qualifications for the position; in particular, at the time he was hired Mr. Meiselman
                                                                                               did
not have a Master's degree in Library Science, and he possessed less than two years            of
experience in preparing original catalog records for rare books and manuscripts. These
                                                                                       facts were
known by Defendant who had possession of Mr. Meiselman's application material, including
                                                                                         his
resume.

26.     Plaintiff is   a member    of   protected classes, Hispanic, Mexican-American, and Catholic.
27 .    Plaintiff was qualified for the position for which the employer was seeking applications
and was rejected despite his qualifications.

28.     After Plaintiff   s   rejection the position remained open and Defendant continued to seek
applicants from persons of Plaintiffls qualifications.

29.     Defendant selected a person outside of Plaintiffls protected classes who was not only less
qualified than Plaintiff, but also did not meet the required qualifications for the position.
30.     Given the decision-making process, the refusalto hire Plaintiff was because of his
membership in his protected classes.

31.     Defendant's actions led to Plaintiff s failure to be hired and were motivated by race,

national origin, and religious animus.


                                                  COUNT I
                Title VII-Race and National Origin Discrimination in Employment


32.     Plaintiff incorporates paragraphs I through 3l      as though set   forth in full herein.
33.     By the conduct set forth in the Statement of Facts above, Defendant engaged in unlawful

employment discrimination in violation of Section 703 (a) of Title YIl, 42 U.S.C. Section 2000e-

2(a).

34.     Defendant by and through its agents and employees discriminated against Plaintiff

because of his race (Hispanic) and national origin (Mexican) by means          of its above conduct in
failing to hire Plaintiff for the open position lor which he applied and lor which he was qualified.
35.     Defendant discriminated against Plaintiff with regard to the terms, conditions, privileges,

and benefits of employment based upon his race and national origin. This discrimination

constitutes violations of Title VII.

36.     As a result of Defendant's actions, Plaintiff has suffered emotional pain and distress, loss
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 of income, loss of benefits, mental anguish, and loss of enjoyment of life's pleasures.
 37.    The unlawful employment practices outlined above were intentional.
 38'     The above described conduct of Defendant with regard to Plaintiff was extreme
                                                                                        and
 outrageous and was committed with a malicious, willful, and/or reckless indifference
                                                                                      to the
 federally protected rights of Plaintiff, warranting punitive damages.

        WHEREFC)RE, Plaintiff Gabriel Angulo demands judgment in his favor and againsr
Defendant and requests that this Court order that:

        (a)     Defendant compensate Plaintiff for the wages and other benefits and emoluments
                of employment lost because of Defendant's unlawful conduct;
        (b)     Defendant pay to Plaintiff compensatory damages for future pecuniary losses,
               pain, suffering, inconvenience, mental anguish, loss of enjoyment of life, and

               other non-pecuniary losses as allowable; and
        (c)    Defendant pay to Plaintiff all other legal and equitable relief recoverable under

               Title VII, including, but not limited to, punitive damages, employment with
               applicable seniority, attorneys' fees, expert witness fees, the costs of this action.

               and pre-and post-judgment interest.



                                        COUNT II
                PHRA- Race and National Origin Discrimination in Employment


39.    Plaintiff incorporates paragraphs 1 through 38 as though set forth in full herein.
40-    By the conduct set forth in the Statement of Facts above, Defendant engaged in unlawful
employment discrimination in violation of the Pennsylvania Human Relations Act, 43 p.C.

Sections 953 and 955.

41.    Defendant by and through its agents and employees discriminated against plaintiff
because of his race (Hispanic) and national origin (Mexican) by means     of its above conduct in
failing to hire Plaintiff for the open position for which he applied and for which he was qualified.
42.    Defendant discriminated against Plaintiff with regard to the terms, conditions, privileges,

and benefits of employment based upon his race and national origin. This constitutes violations

of the PHRA.
43.    As a result of Defendant's actions, Plaintiff has suffered emotional pain and distress,loss
             Case 2:21-cv-01828-CFK Document 1 Filed 04/20/21 Page 10 of 18




 of income, loss of benefits, mental anguish, and loss of enjoyment of life's pleasures.
 44.     The unlawful employment practices outlined above were intentional.

         WHEREFORE, Plaintiff Gabriel Angulo           demands judgment in his favor and against
 Defendant and requests that this Court order that:

         (a)     Defendant compensate Plaintiff for the wages and other benefits and
                                                                                     emoluments
                 of employment lost because of Defendant's unlawful conduct;
         (b)     Defendant pay to Plaintiff compensatory damages for future pecuniary losses,
                 pain, suffering, inconvenience, mental anguish, loss of enjoyment of life,
                                                                                            and
                 other non-pecuniary losses as allowable; and
         (c)     Defendant pay to Plaintiff all other legal and equitable relief recoverable under
                                                                                                   the
                 PHRA, including, but not limited to, employment with applicable seniority,
                  attorneys' fees, expert witness fees, the costs of this action, and pre-and post-
                 judgment interest.



                                             COUNT III
                         Title VII- Religious Discrimination in Employment

45.     Plaintiff incorporates paragraphs I through 44 as though set forth in full herein.
46.     By the conduct set forth in the Statement of Facts above, Defendant engaged in unlawful
employment discrimination in violation of Section 703 (a) of Title YII,42 U.S.C. Section 2000e-

2(a).

47.     Defendant by and through its agents and employees discriminated against plaintiff

because of his religion by means of its above conduct in     failing to hire Plaintiff for the open
position for which he applied and for which he was qualified.
48.     Defendant discriminated against Plaintiff with regard to the terms, conditions, privileges,
and benefits of employment based upon his religion. This discrimination constitutes violations
                                                                                                      of
Title VII.
49.    As a result of Defendant's actions, Plaintiff has suffered emotional pain and distress, loss
of income, loss of benefits, mental anguish, and loss of enjoyment of life's pleasures.
50.     The unlawful employment practices outlined above were intentional.

5 .
 1      The above described conduct of Defendant with regard to Plaintiff was extreme and
         Case 2:21-cv-01828-CFK Document 1 Filed 04/20/21 Page 11 of 18




outrageous and was committed with a malicious,       willful,   and,/or reckless   indifference to the
f'ederally protected rights of Plaintiff, warranting punitive damages.

        WHEREFORE, Plaintiff Gabriel Angulo          demands judgment in his favor and against
Defendant and requests that this Court order that:

        (a)     Defendant compensate Plaintiff for the wages and other benefits and emoluments

                of employment lost because of Defendant's unlawful conduct;
        (b)     Defendant pay to Plaintiff compensatory damages for future pecuniary losses,
               pain, suffering, inconvenience, mental anguish, Ioss of enjoyment of life, and

               other non-pecuniary losses as allowable; and
        (c)    Defendant pay to Plaintiff all other legal and equitable relief recoverable under

               Title vII, including, but not limited to, punitive damages, employment with
               applicable seniority, attorneys' fees, expert witness fees, the costs of this action.

               and pre-and post-judgment interest.


                                         COUNT IV
                         PHRA- Religious Discrimination in Employment


52.    Plaintiff incorporates paragraphs 1 through 5l as though set forlh in full herein.
53.    By the conduct set forth in the Statement of Facts above, Defendant engaged in unlawful
employment discrimination in violation of the Pennsylvania Human Relations Act. 43 p.C.

Sections 953 and 955.

54.    Defendant by and through its agents and employees discriminated against Plaintiff

because of his religion by means   of its above conduct in failing to hire Plaintiff for the open
position for which he applied and for which he was qualified.
55.    Defendant discriminated against Plaintiff with regard to the terms, conditions, privileges,

and benefits of employment based upon his religion. This discrimination constitutes violations           of
the PHRA.

56.    As a result of Defendant's actions, Plaintiff has suffered emotional pain and distress, loss

of income, loss of benefits, mental anguish, and loss of enjoyment of life's pleasures.
57.    The unlawful employment practices outlined above were intentional.

       WHEREFORE, Plaintiff Gabriel Angulo           demands judgment in his favor and against
        Case 2:21-cv-01828-CFK Document 1 Filed 04/20/21 Page 12 of 18




Defendant and requests that this Court order that:

       (a)     Defendant compensate Plaintiff for the wages and other benefits and emoluments

               of employment lost because of Defendant's unlawful conduct;
       (b)     Defendant pay to Plaintiff compensatory damages for future pecuniary losses,

               pain, suffering, inconvenience, mental anguish, loss of enjoyment of life,
                                                                                          and
               other non-pecuniary losses as allowable; and
       (c)     Defendant pay to Plaintiff all other legal and equitable relief recoverable under the

               PHRA, including, but not limited to, employment with applicable seniority,
               attorneys' fees, expert witness fees, the costs of this action, and pre-and post-
              judgment interest.

                               JURY DEMAND

       Plaintiff requests trial by jury on all counts.



Dated: 0412012021
                                                         Alberl J. Michell, Esquire
                                                         Attorney lD:76797
                                                         ALBERT J. MICHELL, P.C.
                                                         40 West Evergreen Avenue, Suite   102
                                                         Philadelphia, PA l9l I 8
                                                         Send correspondence to:
                                                         PO Box 4062
                                                         Philadelphia, PA 191 l8
                                                         Telephone: 21 5.9222588
                                                         Validation of Signature Code: AJM4598
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                   Case 2:21-cv-01828-CFK Document 1 Filed 04/20/21 Page 14 of 18

  EEOC Form 161-B (1 1/2020)               U.S. EouaI EmployuenT OPPoRTUNITY coMMISSIoN

                                          Nolce       oF RIGHT To SuE (/ssueo                oA/     REOUES,
 To: GabrielAngulo                                                                      From: Philadetphia District Office
         403 Crescent Street, Apt. 3
                                                                                                   801 Market Street
         Waltham, MA 02453
                                                                                                   Suite 1000
                                                                                                   Philadetphia, pA 19107

                   On behalf of person(s) aggieved whose identity is
                   CONFTDENTTAL (29 CFR g1601.7(a))

  EEOC Charge No.                                         EEOC Representative                                            Telephone No.
                                                         Kurt Jung
 1   7F-201 9-60339                                      State, Local & Tribal Program Manager                           (267) s89-9749
                                                                                     (See a/so the additional information enclosed with this form.)
Notrce to rne PERSoN AGGRIEVED:
Title Vllof the Civil Rights Act of 1964, the Americans with Disabilities Act (ADA),
                                                                                           or the Genetic lnformation Nondiscrimination
Act (GINA): This is your Notice of Right to Sue, issued under Title vll, the ADA or
                                                                                    Gt(A oaseo on the above-numbered charge. lt has
been issued at your request. Your lawsuit under Title vll, the ADA or GINA must
                                                                                    be filed in a federal or state court WITHIN 90 DAYS
of your receipt of this notice; or your right to sue based on this charge wil be lost (The
                                                                                             time ltmit for i1,l*1i,],ir."'ffiT;i#ffi
state law may be different.)

      E            More than 180 days have passed since the filing of this charge.

      tl           Less than 180 days have passed since the filing of this charge, but I have determined
                   beabletocompleteitsadministrativeprocessingwithin'180-daysfromthefilingof
                                                                                                         that it is unlikely) that the EEOC will
                                                                                                         thischarge.
      E
      r           The EEOC is terminating its processing of this charge.

                  The EEOC will continue to process this charge.
Age Discrimination in Employment Act (ADEA): You may sue under the ADEA at
                                                                                     any time from 60 days after the charge was filed until
90 days after you receive notice that we have completed aciion on the charge. ln this regard,
                                                                                              the paragraph marked below applies to
your case:
      E           I!"-EF9c s  closing your case Therefore, your lawsuit under the ADEA must be filed in federal or state
                  90 DAYS of your receipt of this Notice. othenryise, your right to sue based on the
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      fl          TheEEoCiscontinuingitshandlingofyourADEAcase                  However,if60dayshavepassedsincethefilingofthecharge,
                  you may file suit in federal or state court under the ADEA at this time.

Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an_E_EoC charge
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lf you file suit, based on this charge, please send a copy of your court complaint to this
                                                                                           office.


                                                                         On behalf of the Commission




                                                                                                                             03t30t2021
Enclosures(s)
                                                                        Dana R. Hutter                                        (Date lssued)
                                                                        Deputy Director
Cc:           UNIVERSITY OF PENNSYLVANIA                                              Jennifer Prettyman Reno
                                                                                      Associate General Cou nse!
              Albert J. Michell, Esq.                                                 Un iversity of Pennsylvania
              Albert J. Micheil, p.C.                                                 Office of the General Counsel
              P.O. Box 4062                                                           2929 Walnut Street, Suite 400
              Philadetphia pA 19118                                                   Philadelphia, PA 19104
              amichell@netcarrier.com                                                 iennifer. reno@oqc.upen n.edu
                       Case 2:21-cv-01828-CFK Document 1 Filed 04/20/21 Page 15 of 18

  EEOC Form 161-8 (i 1/2020)                U.S. Eouel Eurproyueur OppoRTUNtry CoMMtsstoN

                                          Nolce        oF RtcHT To SuE (/ssuro oN REeuESr,
 To: GabrielAngulo                                                                             From: Philadelphia District Office
         403 Crescent Street, Apt. 3                                                                    801 Market Street
         Waltham, MA 02453
                                                                                                        Suite 1000
                                                                                                        Philadetphia, pA 19107

                   On behalf of person(s) aggrieved whose identity is
                    CONFTDENTTAL    (29 CFR 51601.7(a))

  EEOC Charge No.                                         EEOC Representative                                                   Telephone No.
                                                          Kurt Jung
  17F-2020-61071                                          State, Local & Tribal Program Manager                                 (267) 589-9749
                                                                                            (See a/so the additional information enclosed with this form
NorcE ro tHe PensoH Accnreveo:                                                                                                                           )

Title vll of the civil Rights Act of 1964, the Americans with Disabilities Act (ADA),
                                                                                           or the Genetic lnformation Nondiscrimination
Act (GINA): This is your Notice of Right to Sue, issued under Title Vll, the ADA or GllriA based
                                                                                                   on the above-numbered charge. lt has
been issued at your request. Your lawsuit under Title Vll, the ADA or GINA must
                                                                                    be filed in a federal or state court wlTHlN 90 DAys
of your receipt of this notice; or your right to sue based on this charge wiil be tost (The time rimtt
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state law may be different.)

      E            More than '180 days have passed since the filing of this charge.

      E            Less than 180 days have passed since the filing of this charge, but I have determined that it
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                                                                                                                  is unlikely
                   be able to complete its administrative processing within 180 days from the filing of tnis cnirge.

      E
      r           The EEOC is terminating its processing of this charge.

                  The EEOC will continue to process this charge.
Age Discrimination in Employment Act (ADEA): You may sue under the ADEA at any time from 60
                                                                                                      days after the charge was filed until
90 days after you receive notice that we have completed aciion on the charge. ln this regard,
                                                                                              the paragraph marked below applies to
your case:
      fl          J!"-EF9c is closing your case. Therefore, your lawsuit under the ADEA must be filed in federal
                                                                                                                 or state court wlTHlN
                  90 DAYS of your receipt of this Notice. otherwise, your right to sue based on the above-numoereo
                                                                                                                                    cnarg"   ;iiofi"t
     x            The EEOC is continuing its handling of yourADEA case. However, if 60 days have passed since
                  you may file suit in federal or state court under the ADEA at this time.
                                                                                                              the filing of the charge,


Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge is not required.)
                                                                                                                      EpA suits must be brought
in federal or state court within 2 years (3 years for willful violations) of the allegied EPA underpiyment.
                                                                                                            This means that backpay due for
any violations that occurred more than 2 vears (3 vears) before you file suit may not be collectible.

lf you file suit, based on this charge, please send a copy of your court complaint to this office.


                                                                         On behalf of the Commission



                                                                                       tl

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                                                                                                                                    03t30t2021
Enclosures(s)
                                                                        Dana R. Hutter                                               (Date lssued)
                                                                        Deputy Director
Cc:           UNIVERSITY OF PENNSYLVANIA                                                      Jennifer Preftyman Reno
                                                                                              Associate General Counsel
              Albert J. Micheil, Esq.                                                         University of Pennsylvania
              Albert J. Michett, P.C.                                                         Office of the General Counsel
              P.O. Box 4052                                                                   2929 Walnut Street, Suite 400
              Philadelphia PA 19118                                                           Philadelphia, PA 19104
              amichell@netcarrier.com                                                         ienn ifer. reno@oqc.upen n.ed u
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